Case: 4:05-cr-00098-HEA   Doc. #: 165 Filed: 09/07/06   Page: 1 of 7 PageID #:
                                     392
Case: 4:05-cr-00098-HEA   Doc. #: 165 Filed: 09/07/06   Page: 2 of 7 PageID #:
                                     393
Case: 4:05-cr-00098-HEA   Doc. #: 165 Filed: 09/07/06   Page: 3 of 7 PageID #:
                                     394
Case: 4:05-cr-00098-HEA   Doc. #: 165 Filed: 09/07/06   Page: 4 of 7 PageID #:
                                     395
Case: 4:05-cr-00098-HEA   Doc. #: 165 Filed: 09/07/06   Page: 5 of 7 PageID #:
                                     396
Case: 4:05-cr-00098-HEA   Doc. #: 165 Filed: 09/07/06   Page: 6 of 7 PageID #:
                                     397
Case: 4:05-cr-00098-HEA   Doc. #: 165 Filed: 09/07/06   Page: 7 of 7 PageID #:
                                     398
